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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

JONETTA BROOKS,                                §
         Plaintiff,                            §
                                               §    Civil Action No. 3:16-cv-01938-M
                v.                             §
                                               §
MEDICREDIT, INC.,                              §
                                               §
                Defendant.                     §
                                               §
                                               §

             JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), counsel for all parties

hereto stipulate to the dismissal of this action with prejudice and without cost to either

party.


Respectfully submitted,

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Date: January 24, 2017




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                            CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of the foregoing document by Notice of
Electronic Filing on this 24th day of January, 2017:

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